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                 EXHIBIT A
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        In re: Menocal et al. v. The GEO Group, Inc.
               US Dist Ct., Colorado. Civ. No. 1:14-cv-02887-JLK


                          Psychiatric Report of Stuart Grassian, M.D.

        I am a Board-certified psychiatrist, licensed to practice medicine in the Commonwealth

 of Massachusetts. In December 2018, attorneys for the Plaintiffs in the above-captioned matter

 contacted me. They asked me to provide an expert opinion regarding individuals in immigration

 detention in Aurora, Colorado who allege that they had been forced to clean the housing area in

 the facility under the threat that they would otherwise be punished by being “sent to the hole” –

 that is, placed in solitary confinement. I was retained to provide an expert opinion as to the

 psychiatric effects of this form of threatened punishment, and to evaluate the psychiatric impact

 on these detainees as they experienced this threat, including their experience and perception of

 the threat as they encountered other detainees who returned to their housing unit after being

 confined in solitary.

        The sources of information I reviewed for this purpose are typical of the types of

 information that form the basis of such psychiatric evaluations. They include a number of

 documents, a list of which is attached, and also interviews of the following individuals who had

 been confined at the Aurora facility: Alejandro Menocal; Jesus Gaytan; Grisel Xahuentitla; Olga

 Alexakhina; Hugo Hernandez; and Alejandro Hernandez Torres. These interviews provided both



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 more recent medical literature studying the effects of solitary confinement. These observations

 from such disparate sources all comport with the findings regarding the effects of solitary

 confinement among political prisoners and prisoners of war.5

          2.3. The Psychiatric Effects of Solitary Confinement.

          Solitary confinement imposes a devastating triad of emotional and neuropsychiatric

 deprivations: social isolation, a barren perceptual environment, and deprivation of meaningful

 mental activity. The effect of these deprivations will be heightened if the individual subjected to

 them perceives his conditions of confinement as the product of the exertion of arbitrary power.

 Such perception deprives the individual of any sense of order, of justice, of rules that might

 protect him. Thus, such perception will inevitably magnify the individual’s experience of fear

 and humiliation. Although it is clear that longer exposure to solitary will increase the severity of

 psychological harm, I have observed such harm in the course of my psychiatric work regarding

 the effects of solitary confinement– including overt delirium and suicidality – occurring within

 hours of such confinement.

          2.3.1. Affective Disturbances: Anxiety, Depression and Self-Harm.

          Individuals in solitary confinement often become seriously depressed. There is

 overwhelming empirical evidence that solitary confinement causes many people – even those

 with no prior history of mental illness – to become suicidal and/or self-destructive, especially in

 the first days of such confinement.6



 5
     See Appendix D of my Washington University article.
 6
   Statistical studies have shown that suicide among those in solitary confinement is seven times
 as common as it is among those in general population. One major study (Kaba, F., et al., Solitary
 Confinement and Risk of Self-Harm Among Jail Inmates, Am. J. Public Health, 104(3):442-447
 (2014)) analyzed medical records of 244,699 incarcerations in New York City jails and found
 that of 2,182 acts of self-harm, approximately 50% occurred among the 7% of inmates housed in
                                                  10
